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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Civil Action No. 22-cv-02327-NYW-STV

  MARY ANN MORENO,

         Plaintiff,

  v.

  CIRCLE K STORES, INC.,

        Defendant.
  ______________________________________________________________________________

   PLAINTIFF’S UNOPPOSED MOTION FOR EXCESS PAGES FOR HER RESPONSE
        TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT [ECF No. 64]
  ______________________________________________________________________________

         According to this Court’s Civil Practice Standard 10.1(c)(5), Plaintiff Mary Ann Moreno

  respectfully requests an additional five pages for her forthcoming response to Circle K’s Motion

  for Summary Judgment [ECF No. 64], from a 20-page limit to a 25-page limit. In support of this

  motion, Ms. Moreno states as follows.

         1. Undersigned counsel certifies that she conferred with counsel for Defendant

             regarding the relief requested in this motion. Defendant does not oppose the motion.

         2. Under the Court’s Civil Standards, summary-judgment motions and responses are

             limited to 20 pages. Civ. Practice Standard 10.1(c)(2).

         3. Good cause exists to exceed the page limitations in this instance.

         4. On August 7, 2023, Defendant filed a 25-page motion for summary judgment with

             leave of the Court. See ECF Nos. 63-64.
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         5. Defendant moved for summary judgment on each of Ms. Moreno’s claims, in

              addition to her claim for exemplary damages. See generally ECF No. 64.

         6. Plaintiff has made diligent efforts to meet the Court’s page limit but has concluded

              that extra pages are needed to fully address each of Defendants’ arguments.



         WHEREFORE, Ms. Moreno respectfully requests that the Court expand the page limit

  from 20 pages to 25 pages for her forthcoming response to Circle K’s Motion for Summary

  Judgment.



  Respectfully submitted this 24th day of August, 2023.



                                                      s/ Virginia Hill Butler
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 24th day of August, 2023, I electronically filed and served the

  foregoing PLAINTIFF’S UNOPPOSED MOTION FOR EXCESS PAGES FOR HER

  RESPONSE TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT using the

  CM/ECF system, which will send notification of such filing to the following:

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                                                                      S/ Virginia Hill Butler
                                                                      Virginia Hill Butler




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